 Case 2:18-cv-04315-DSF-JPR Document 76-2 Filed 03/01/19 Page 1 of 2 Page ID #:1644




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                            UNITED STATES DISTRICT COURT
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          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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12   SECURITIES AND EXCHANGE                  Case No. 18-4315 DSF (JPRx)
     COMMISSION,
13                                            [PROPOSED] ORDER GRANTING
                    Plaintiff,                FIRST INTERIM FEE APPLICATION
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                                              OF HOLLAND & KNIGHT LLP, AS
15           vs.                              COUNSEL TO RECEIVER, FOR
                                              ALLOWANCE OF COMPENSATION
16   TITANIUM BLOCKCHAIN                      AND REIMBURSEMENT OF
     INFRASTRUCTURE SERVICES,                 EXPENSES
17   INC.; EHI INTERNETWORK AND
     SYSTEMS MANAGEMENT, INC.
18   aka EHI-INSM, INC.; and MICHAEL
19   ALAN STOLLERY aka MICHAEL
     STOLLAIRE,
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                    Defendants.
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     #60720133_v5                            2
 Case 2:18-cv-04315-DSF-JPR Document 76-2 Filed 03/01/19 Page 2 of 2 Page ID #:1645




1              [PROPOSED] ORDER GRANTING FIRST INTERIM FEE
             APPLICATION OF HOLLAND & KNIGHT LLP, AS COUNSEL
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              TO RECEIVER, FOR ALLOWANCE OF COMPENSATION
3                    AND REIMBURSEMENT OF EXPENSES
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            The First Interim Fee Application of Holland & Knight LLP, as Counsel to
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     Receiver, for Allowance of Compensation and Reimbursement of Expenses (the
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     “Application” filed by Holland & Knight LLP (“H&K”), counsel to Josias Dewey, as
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     Court-appointed Receiver (the “Receiver”) for the estates of Defendant Titanium
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     Blockchain Infrastructure Services, Inc. and its subsidiaries and/or affiliates (collectively,
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     the “Receivership Entities”), came on for hearing on Monday, April 1, 2019. Appearances
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     were as noted on the record.
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            The Court having received and read the Application, including any supporting
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     declarations filed therewith and objections filed thereto, and being so advised in the matter
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     and finding good cause, orders as follows:
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            IT IS ORDERED that the Application of H&K is granted.
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            IT IS FURTHER ORDERED that H&K’s fees and expenses for the First
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     Application Period are allowed and approved, on an interim basis, in the amounts of
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     $52,828.49 and $72,171.51 respectively.
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            IT IS FURTHER ORDERED that the Receiver is authorized and directed to pay
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     H&K $125,000 in fees and expenses from assets of the Receivership Entities, which
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     amount reflects the fee cap applicable to the first thirty (30) days of the receivership.
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22          SO ORDERED.
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24          _________________, 2019
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26                                    DALE S. FISCHER
                                      UNITED STATES DISTRICT JUDGE
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